          Case 3:24-cv-00229-AN         Document 7       Filed 02/29/24     Page 1 of 12



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2
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3     2725 SE 36th Ave.
      Portland, Oregon 97202
4     Telephone: (503) 860-1020
      E-mail: ak@alankessler.law
5       Attorney for Plaintiff

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7
                                united states district court
8
                                  for the district of oregon
9
                                        portland division
10

11

12

13         Monica Klein,                              Case No.: 3:24−cv−00229−an
           Plaintiff,
14                                                    first amended complaint
           v.
15
           Marian Cannell, Shelter Operations         (Art. I, Sec. 8 of the Oregon Constitution
16         Manager for Multnomah County, in           and ORS 20.010)
           her individual capacity; and
17         Multnomah County, a municipal              not subject to mandatory
           corporation of the State of Oregon,        arbitration
18         Defendants.

19

20
                                      introduction
21                                         1.

22        Plaintiff, Monica Klein, by and through her counsel, brings this action alleging that

23    Defendant Multnomah County unlawfully retaliated against her in her role as a shelter
                                                                                         Alan Lloyd Kessler
                                                                                         2725 SE 36th Ave.
24   1 – first amended complaint                                                         Portland, OR 97202
                                                                                         ak@alankessler.law
                                                                                         (503) 860-1020
         Case 3:24-cv-00229-AN         Document 7       Filed 02/29/24     Page 2 of 12



1     volunteer for speaking up in an attempt to prevent Multnomah County Animal

2     Services (“MCAS”) from euthanizing Cloud, a year-and-a-half old poodle, then

3     housed at its shelter.

4                              jurisdiction and venue
                                          2.
5
         Plaintiff Monica Klein (“Klein”) is, and has been at all relevant times, a resident of
6
      Multnomah County, Oregon.
7
                                              3.
8
         Defendant Multnomah County (“County”) is, and has been at all relevant times, a
9
      municipal corporation of the State of Oregon.
10
                                              4.
11
         Defendant Marian Cannell is and has at all times relevant to this action been
12
      employed as Shelter Operations Manager for Multnomah County, with a primary place
13
      of business located in Multnomah County, Oregon.
14
                                 factual allegations
15                                        5.
16       Klein volunteered to work at the County’s animal shelter beginning in February of
17    2023. As a volunteer for MCAS, Klein provided care, feeding, enrichment, and
18    companionship to many of the animals held by the County’s Animal Services
19    department.
20                                            6.
21       Conditions at the County’s shelter are bleak. A February 2023 Oregonian article
22    described the issues at defendant MCAS as “deep-rooted” and having persisted “for
23
                                                                                       Alan Lloyd Kessler
                                                                                       2725 SE 36th Ave.
24   2 – first amended complaint                                                       Portland, OR 97202
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         Case 3:24-cv-00229-AN          Document 7       Filed 02/29/24     Page 3 of 12



1     years.” According to the article, MCAS staff and volunteers attributed the inhumane

2     conditions at the shelter to “overcrowding, staffing shortages and consistent

3     indifference from management….”

4                                              7.

5        When Klein began volunteering, she soon became aware that the shelter is severely

6     understaffed, which results in dire conditions for animals in its care. She observed that

7     dogs are often held in reeking kennels for days without walks; that many animals were

8     given food only once per day; that some dogs lack access to water; and that during

9     summer months, animals suffer in oppressive heat without adequate climate control.

10                                             8.

11       Aware that MCAS holds itself out as operating a “no-kill” shelter, Klein was

12    dismayed to learn that MCAS regularly euthanizes adoptable or treatable animals.

13    Moreover, Klein found that MCAS’s public statements and reports about its use of

14    euthanasia were incongruent with its practices.

15                                             9.

16       Disturbed by the killings, Klein researched the County’s policies and code relating

17    to euthanasia.

18                                             10.

19       From her observations and research, Klein formed a reasonable belief that

20    MCAS’s euthanasia practices violated County code and policies.

21

22

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         Case 3:24-cv-00229-AN          Document 7       Filed 02/29/24        Page 4 of 12



1                                              11.

2        Klein also developed a reasonable belief that the County was acting contrary to law

3     and/or policy by deceiving the public about its use of euthanasia.

4                                              12.

5        In late June or early July, Klein became aware that MCAS personnel had decided to

6     euthanize the poodle Cloud who had been recently returned to the shelter after a first

7     adoption was vetoed by the family cat, and a second was terminated because a landlord

8     objected to his reaction to a dog he saw through a sliding glass door.

9                                              13.

10       Cloud’s adopting families both described him as affectionate and enjoying gentle

11    contact with people. The second adopter reported that he was already trained to sit

12    and lie down on command.

13                                             14.

14       Cloud was healthy and had no “bite history”—i.e., no known history of attacking

15    any person or animal. He was, to Klein’s understanding, adoptable under County code

16    and policies.

17                                             15.

18       Klein learned that MCAS had justified classifying Cloud as dangerous based on the

19    second adopter’s observation of the poodle reacting to the smaller dog. She reasonably

20    believed that it would be a violation of the County’s policies and code to classify Cloud

21    as dangerous based on that evidence.

22

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         Case 3:24-cv-00229-AN        Document 7       Filed 02/29/24     Page 5 of 12



1                                             16.

2        Feeling affection for Cloud, and believing he was a good boy who could be adopted

3     and have a happy life, Klein first spoke with MCAS personnel asking for an

4     opportunity to find Cloud a home. She was rebuffed.

5                                             17.

6        Klein next posted a series of personal pleas from her personal accounts on social

7     media sites.

8

9

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                                                                                     Alan Lloyd Kessler
                                                                                     2725 SE 36th Ave.
24   5 – first amended complaint                                                     Portland, OR 97202
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         Case 3:24-cv-00229-AN          Document 7     Filed 02/29/24    Page 6 of 12



1                                             18.

2        For example, on July 7, 2023, Klein posted the following image and text on the

3     social media site nextdoor.com:

4

5

6

7

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18                                            19.

19       Klein’s post was removed at least once by nextdoor.com because, upon

20    information and belief, defendant County requested the social media site to censor her

21    statements.

22                                            20.

23       On July 8, 2023 Klein posted an update, writing:
                                                                                     Alan Lloyd Kessler
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         Case 3:24-cv-00229-AN         Document 7       Filed 02/29/24     Page 7 of 12



1         “Update, cloud was euthanized. I pleaded they at least wait until the
          director has responded to our emails. They said ‘nope’ very heartlessly.
2         This is Andrew and Erin at the MULTNOMAH COUNTY SHELTER.”
          (emphasis original)
3
                                               21.
4
         The way in which the County operates its shelter, the transparency it provides to
5
      the public about its operations, and the degree to which animals in the care of MCAS
6
      are treated humanely are matters of substantial public concern. This is evidenced, for
7
      example, in the large amount of support and attention Klein’s posts received.
8
                                               22.
9
         On July 11, Defendant Cannell emailed Klein to terminate her service at MCAS.
10
      Cannell wrote in a letter:
11
          “Due to your actions occurring over the weekend of July 8-9 that were
12        in violation of the Volunteer Agreement, we are writing to inform you
          that we are permanently terminating your volunteer service at MCAS,
13        in person or remotely, effective immediately.”
14                                             23.
15       Cannell’s email to Klein included several paragraphs of text, which Cannell

16    identified as excerpts from MCAS’s volunteer handbook. The quoted text purports to
17    require volunteers to “adher[e] to, and show[] support of, the policies and directives of
18    MCAS staff….”
19                                             24.
20       Moreover, the text quoted in Defendant Cannell’s letter purports to prohibit

21    volunteers from “…solicit[ing] changes to determined dispositions or individual
22    outcomes without express approval from MCAS, including seeking rescue for animals
23
                                                                                       Alan Lloyd Kessler
                                                                                       2725 SE 36th Ave.
24   7 – first amended complaint                                                       Portland, OR 97202
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                                                                                       (503) 860-1020
         Case 3:24-cv-00229-AN           Document 7     Filed 02/29/24     Page 8 of 12



1     on behalf of MCAS, seeking adoption placement for animals that are not available for

2     adoption, or otherwise disregarding the disposition determination process in place at

3     MCAS.”

4                                               25.

5        In short, each of the County—through Cannell as its agent—and Cannell, as an

6     individual, expressly terminated Klein’s volunteer service because of and in retaliation

7     for her public statements regarding Cloud and the County’s euthanasia and animal

8     care practices.

9                              first claim for relief
                        uniform declaratory judgment act
10                       (Oregon Constitution – Article 1, Section 8)
11
                                                26.
12
         Plaintiff incorporates the allegations contained in the above paragraphs of this
13
      Complaint as if fully set forth herein.
14
                                                27.
15
         Defendants’ Volunteer Agreement violates Article 1, Section 8 of the Oregon
16
      Constitution because it imposes impermissible restrictions on the content of
17
      volunteers’ expression.
18
                                                28.
19
         Defendants’ termination of Plaintiff’s volunteer service violated Article 1,
20
      Section 8 of the Oregon Constitution because it was based on the application of a
21
      policy that explicitly regulates expression based on content.
22

23
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         Case 3:24-cv-00229-AN           Document 7       Filed 02/29/24      Page 9 of 12



1                                               29.

2        Defendants’ ban on Plaintiff’s future volunteer service violates Article 1, Section 8

3     of the Oregon Constitution because it punishes Plaintiff for her lawful expressive

4     activities, which were related to topics of public interest, and because it is intended to

5     and/or is likely to chill the free expression of other similarly situated volunteers.

6                                               30.

7        Defendants’ termination of Plaintiff’s volunteer service was unlawful because it

8     was based on the application of a policy that explicitly regulates expression based on its

9     content.

10                                              31.

11       Defendants’ termination of Klein’s volunteer service was unlawful because it was

12    motivated by the content of her social media posts.

13

14                                              32.

15       Defendants’ interference with Plaintiff’s nextdoor.com posts violated Article 1,

16    Section 8 of the Oregon Constitution because it suppressed Plaintiff’s written

17    expression based on its content.

18                                              33.

19       Defendants’ policy that volunteers must receive “express approval” before

20    “solicit[ing] changes to determined dispositions or individual outcomes” is a prior

21    restraint on expression in violation of Article I, Section 8 of the Oregon Constitution.

22

23
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         Case 3:24-cv-00229-AN          Document 7        Filed 02/29/24      Page 10 of 12



1                                                34.

2        Plaintiff is entitled to declaratory relief as to the invalidity of the provisions of law,

3     code, and policy Defendants relied upon in taking the unlawful actions described

4     above.

5                                                35.

6        Plaintiff is entitled to injunctive relief requiring Defendants to reinstate her as a

7     volunteer.

8
                                      prayer for relief
9
         Wherefore, Plaintiff prays for judgment as follows:
10
         a) For reinstatement of Plaintiff’s volunteer service;
11
         b) For permanent injunction prohibiting Defendants from retaliating against
12
               Plaintiff or other volunteers for opposing Defendant’s policies or practices;
13
         c) For a declaration that MCAS’s volunteer agreement or specific portions
14
               thereof are invalid;
15
         d) For a declaration that the laws, rules, and policies relied on by Defendants in
16
               conducting the actions described above are invalid;
17
         e) For Plaintiff’s reasonable attorney’s fees and costs pursuant to:
18
                   1) The public benefit doctrine, exemplified by Deras v. Myers, 272 Or 47,
19
                      66-67, 535 P2d 541 (1975), Leppanen v. Lane Transit District, 181 Or
20
                      App 136, 149, 45 P3d 501 (2002), Swett v. Bradbury, 335 Or 378, 67 P3d
21
                      391 (2003), and Kerr v. Bradbury, 194 Or App 133, 93 P3d 841 (2004);
22
                      and/or
23
                                                                                            Alan Lloyd Kessler
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         Case 3:24-cv-00229-AN        Document 7       Filed 02/29/24     Page 11 of 12



1               2) The substantial benefit doctrine, exemplified by Crandon Capital

2                   Partners v. Shelk, 342 Or 555, 564, 157 P3d 176 (2007) and De Young v.

3                   Brown, 300 Or App 530, 451 P3d 651 (2019); and

4        f) Providing all other and further relief as to which Plaintiff may be entitled and

5           which the Court may deem to be equitable and just.

6

7         DATED: Feburary 29, 2024.
          Respectfully Submitted,
8
                                                 /s/ Alan Lloyd Kessler
9                                                Alan Lloyd Kessler, OSB No. 150209
                                                 2725 SE 36th Ave.
10                                               Portland, OR 97202
                                                 ak@alankessler.law
11                                               Plaintiff/Attorney for Plaintiff

12                                               ATTORNEY TO BE NOTICED

13

14

15

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                                                                                       Alan Lloyd Kessler
                                                                                       2725 SE 36th Ave.
24   11 –first amended complaint                                                       Portland, OR 97202
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           Case 3:24-cv-00229-AN          Document 7       Filed 02/29/24      Page 12 of 12



1                                      certificate of service

2

3        I hereby certify that I served the foregoing first amended complaint on the
     party listed below by the following indicated method or methods:
4
                                ashley bannon moore
5                               (503) 988-3138
                                Fax: (503) 988-3377
                                Multnomah County Attorneys Office
6
                                501 SE Hawthorne Blvd
                                Suite 500
7
                                Portland, OR 97214
8
       [X] by electronic means through the U.S. District Court, District of Oregon’s
     CM/ECF document filing system.
9

10      [ ] by mailing a full, true and correct copy thereof in a sealed, first-class postage paid
     envelope, addressed to the address as shown above, with the U.S. Postal Service at
     Portland, Oregon, on the date set forth below.
11
         [ ] by causing a full, true, and correct copy thereof to be hand-delivered to the attorney
12
     at the attorney’s last known office address listed above on the date set forth below.
13
         [ ] by faxing a full, true, and correct copy thereof to the attorney at the fax number
     shown above, which is the last-known fax number for the attorney’s office, on the date set
14
     forth below.
15
          DATED: Feburary 29, 2024.
16                                                  /s/ Alan Lloyd Kessler
                                                    Alan Lloyd Kessler, OSB No. 150209
17                                                  2725 SE 36th Ave.
                                                    Portland, OR 97202
18                                                  ak@alankessler.law
                                                    Plaintiff/Attorney for Plaintiff
19

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23
                                                                                            Alan Lloyd Kessler
                                                                                            2725 SE 36th Ave.
24   1 – certificate of service                                                             Portland, OR 97202
                                                                                            ak@alankessler.law
                                                                                            (503) 860-1020
